          Case 2:24-cv-00191-TL Document 11 Filed 03/06/24 Page 1 of 2



 1                                                          THE HONORABLE TANA LIN

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 7
                               UNITED STATES DISTRICT COURT
 8                            WESTERN DISTRICT OF WASHINGTON
 9                                      AT SEATTLE

10
     MARIANA FRANZETTI, individually and on     Case No. 2:24-cv-00191-TL
11   behalf of all others similarly situated,
                                                NOTICE OF APPEARANCE FOR
12                      Plaintiff,              PACIFIC MARKET INTERNATIONAL,
                                                LLC
13         v.

14   PACIFIC MARKET INTERNATIONAL, LLC,
     D/B/A PMI WORLDWIDE, AND DOES 1-10,
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                        Defendants.
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28   NOTICE OF APPEARANCE                                   Shook, Hardy & Bacon L.L.P.
     No. 2:24-cv-00191-TL                                   701 5th Avenue, Suite 6800
                                                            Seattle, WA 98104-7066
                                                            206.344.7600
           Case 2:24-cv-00191-TL Document 11 Filed 03/06/24 Page 2 of 2



 1   TO: THE CLERK OF THE COURT; and

 2   TO: ALL PARTIES AND THEIR COUNSEL OF RECORD

 3
 4          PLEASE TAKE NOTICE that Steven Rich of Shook, Hardy & Bacon L.L.P. hereby enters

 5   his appearance on behalf of Defendant Pacific Market International, LLC, and requests service of

 6   all notices, pleadings and other papers filed in this case, as required by the Federal Rules of Civil

 7   Procedure or by Order of the Court.

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     Dated: March 6, 2024                        Respectfully submitted,
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                                                 SHOOK, HARDY & BACON L.L.P.
10
11                                               By: /s/ Steven Rich
                                                    Steven Rich (#48444)
12                                                  701 Fifth Avenue, Suite 6800
                                                    Seattle, WA 98104
13                                                  Phone: 206-344-7600
                                                    Fax: 206-344-3113
14                                                  srich@shb.com
15                                                   Attorneys for Defendant Pacific Market
                                                     International, LLC
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     NOTICE OF APPEARANCE                                               Shook, Hardy & Bacon L.L.P.
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